         Case 1:05-cv-01207-JLT-EPG Document 1330 Filed 03/19/19 Page 1 of 2

1

2

3

4

5

6
                               UNITED STATES DISTRICT COURT
7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    NATURAL RESOURCES DEFENSE                    Case No. 1:05-cv-01207 LJO-EPG
     COUNCIL, et al.,
                                                  AMENDED PRETRIAL
10                     Plaintiffs,                SCHEDULING ORDER
11 vs.

12 DAVID BERNHARDT, Acting Secretary,
   U.S. Department of the Interior, et al.,
13
                       Defendants.
14
     SAN LUIS & DELTA MENDOTA WATER
     AUTHORITY, et al.,
15
                     Defendant-Intervenors.
16 ANDERSON-COTTONWOOD IRRIGATION
   DISTRICT, et al.,
17
                     Joined Parties.
18

19

20

21

22

23

24

25

                                              1
           Case 1:05-cv-01207-JLT-EPG Document 1330 Filed 03/19/19 Page 2 of 2

1
                                                      ORDER
2            Pursuant to the Parties’ agreement, the Court hereby ORDERS that the following schedule is

3    established.

4
          Event                                                                         Deadline
5         Plaintiffs’ response to Motions to Dismiss                                    March 29
          Reply to Motions to Dismiss/ Responses to motions in limine on causation      April 5
6         and bifurcation
          Continued Fleenor Deposition, subject to the parties’ ongoing discussion      Apr. 8
7
          regarding the appropriate time limits on the deposition
8         Continued Fangue Deposition                                                   Apr. 9
          Hearing on MTD (as needed)                                                    Apr. 12
9         Deadline to file any supplemental expert reports, subject to the applicable   Apr. 12
          rules, including the ability for any party to object/ask for a deposition
10        Motions in limine on experts except for Fleenor                               April 19
          Motion in limine for Dr. Fleenor                                              April 24
11
          Response to motions in limine on experts                                      May 3
12        Response to motion in limine: Dr. Fleenor                                     May 8
          Joint pretrial statement                                                      May 10
13        Motions in limine on all other evidence                                       May 17
          Response to motions in limine on all other evidence                           May 24
14        Pretrial conference                                                           June 4
          Opening trial briefs                                                          June 14
15
          Proposed pretrial orders                                                      June 21
16        Answering trial briefs                                                        June 28
          First day of trial                                                            July 10, 8:30 a.m.
17

18

19 IT IS SO ORDERED.

20       Dated:     March 19, 2019                           /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
21

22

23

24

25

                                                         2
